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 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   VOICE OF SAN DIEGO,                                Case No.: 20cv990-JLS (NLS)
12                                     Plaintiff,       ORDER:
13   v.
                                                        (1) FOLLOWING STATUS
14   FEDERAL COMMUNICATIONS                             CONFERENCE;
     COMMISSION; FEDERAL AVIATION
15
     ADMINISTRATION; and U.S.                           (2) GRANTING IN PART AND
16   DEPARTMENT OF                                      DENYING IN PART DEFENDANTS’
     TRANSPORTATION,                                    EX PARTE REQUEST TO MODIFY
17
                                    Defendants.         PRODUCTION DEADLINE [ECF
18                                                      NO. 12]; and
19
                                                        (2) SETTING CONTINUED
20                                                      STATUS/CASE MANAGEMENT
                                                        CONFERENCE
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           On October 21, 2020, the Court held a status/case management conference. ECF
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     No. 14. The Court and parties discussed the status of the responses to the FOIA request
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     and Defendants’ Status Report and ex parte Request to Modify Production Deadline
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     (ECF No. 12). Pursuant to the discussion therein, the Court ORDERS the following:
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           1.    By December 9, 2020, Defendants are ordered to produce all remaining
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     releasable portions of documents that are responsive to Plaintiff’s Freedom of
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                                                                                20cv990-JLS (NLS)
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 1   Information Act (“FOIA”) requests, along with a Vaughn Index. Production shall be
 2   made on a rolling basis, meaning that documents shall be provided as they become
 3   releasable, before and up to December 9. The Court cautions that no further extensions
 4   will be given absent truly extenuating circumstances and failure to abide by the deadline
 5   may result in an order to show cause against Defendants.
 6         2.     After the December 9, 2020 production deadline, the parties shall file a joint
 7   status report with the Court on December 14, 2020.
 8         3.     The Court SETS a status/case management conference for December 16,
 9   2020 at 10:00 a.m. This conference will be held via videoconference with counsel only.
10   By December 14, 2020, Counsel must email the Court at
11   efile_stormes@casd.uscourts.gov to identify the name and title of everyone who will be
12   attending the Zoom status conference, an e-mail address for each participant to receive
13   the Zoom invitation, and a telephone number where each participant may be reached in
14   the event of technical issues.
15         IT IS SO ORDERED.
16   Dated: October 21, 2020
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